                             Case 3:22-cv-00411-JAM Document 151 Filed 06/12/23 Page 1 of 1
                                                                                                                   Civil- (Dec-2008)
                                                                HONORABLE: Jeffrey A. Meyer
                                     DEPUTY      CLERKDiahann Lewis      RPTR/ECRO/TAPEDiana Huntington
         TOTAL TIME:                  hours 51 minutes
                                        DATE: 6/12/2023        START TIME: 3:05                  END TIME: 3:56
                                                            LUNCH RECESS        FROM:                   TO:
                                                    RECESS (if more than ½ hr)  FROM:                   TO:

         CIVIL NO. 3:22CV411 (JAM)


                     Leftridge                                                        Vernon Leftridge (appearing pro se)
                                                                                             Plaintiff’s Counsel
                                        vs
                     Judicial Branch et al                                            Holzman, DeMattia, Wallace
                                                                                             Defendant’s Counsel

                                                   COURTROOM MINUTES- CIVIL

                            ✔ Motion hearing                          Show Cause Hearing
                                 Evidentiary Hearing                  Judgment Debtor Exam
                                 Miscellaneous Hearing

         ✔ .....#123        Motionto Dismiss                                             granted      denied ✔ advisement
         ✔ .....#81         Motionto Dismiss                                             granted      denied ✔ advisement
            .....#          Motion                                                       granted      denied       advisement
            .....#          Motion                                                       granted      denied       advisement
            .....#          Motion                                                       granted      denied       advisement
            .....#          Motion                                                       granted      denied       advisement
            .....#          Motion                                                       granted      denied       advisement
            .....           Oral Motion                                                  granted      denied       advisement
            .....           Oral Motion                                                  granted      denied       advisement
            .....           Oral Motion                                                  granted      denied       advisement
           .....            Oral Motion                                                  granted      denied       advisement
            .....                Briefs(s) due                Proposed Findings due                Response due
           .............                                                                                   filed   docketed
           .............                                                                                   filed   docketed
           .............                                                                                   filed   docketed
           .............                                                                                   filed    docketed
            .............                                                                                  filed   docketed
            .............                                                                                  filed   docketed
            ............                            Hearing continued until                           at

Notes:
